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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

COALITION FOR GOOD
GOVERNANCE, et al.

       Plaintiffs,                            Civil Action No.:
                                              1:21-CV-02070-JPB
v.

BRIAN KEMP, in his official capacity
as Governor of the State of Georgia, et
al.,

       Defendants.


        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Defendants Brian Kemp, in his official capacity as the Governor of the

State of Georgia; Brad Raffensperger, in his official capacity as Secretary of

State of Georgia; and Sara Tindall Ghazal, Janice Johnston, Edward Lindsey,

and Matthew Mashburn, in their official capacities as members of the State

Election Board (collectively, “Defendants”), move this Court for summary

judgment in their favor pursuant to pursuant to Fed. R. Civ. P. 56 and Local

Rule 56.1. As shown by the attached Defendants’ Brief in Support of Motion

for Summary Judgment, the Exhibits attached to and filed with the Statement

of Material Facts accompanying the Brief, and the deposition testimony filed

with this Court, there are no material issues of fact in dispute and, as a matter

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of law, Defendants are entitled to summary judgment on all of Plaintiffs’

claims.

      WHEREFORE, Defendants respectfully request that this Court enter

summary judgment in their favor and cast all costs against Plaintiffs.


      Respectfully submitted this 17th day of July, 2023.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                          /s/Bryan P. Tyson
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